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                        IN THE UNITED STATES DISTRlCT COURT                  [322 0:C I3 P:1 3: 53,
                            FOR THE DISTRlCT OF NEBRASKA
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UNITED STATES OF AMERlCA,

                      Plaintiff,
                                                                       8:22CR2Sl)
       vs.
                                                                   INDICTMENT
                                                                18 U.S.C. § 922(g)(l)
.SHAWN DAVID JOHNSON,

                      Defendant.

       The Grand Jury charges that:

                                            COUNT!

               On or about February 2, 2022, in the District of Nebraska, Defendant SHAWN

DAVID JOHNSON, knowing he had previously been convicted of a crime punishable by

imprisonment for a term exceeding one year, to wit: Attempt of a Class 3 or 3a Felony,

knowingly possessed a Diamondback Model DB9 9mm handgun, Serial# YMO369 which had

been shipped and transported in interstate commerce.

       In violation of Title 18, United States Code, Sections 922(g)(l) and 924( a)(2).


                                                     A TRUE BILL.




                                                     FOREPERSON


       The United States of America requests that trial of this case be held in Omaha, Nebraska,
pursuant to the rules of this Court.



                                                       J/2__-~
                                                 THoliAS J. KANGIOR                            ----
                                                 Assistant United States Attorney

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